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                         IN THE UNITED STATES COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Criminal No. 1:10-cr-279
                                             )       Civil No. 1:16-cv-744
EUGENE ANTHONY THOMAS,                       )       Hon. Gerald Bruce Lee
                                             )
       Defendant.                            )



                                     NOTICE OF APPEAL

       The defendant in the above-styled case hereby notes his appeal to the United States Court of

Appeals for the Fourth Circuit from the final memorandum opinion and order (Doc. 56) filed in this

court on the 12th day of September, 2017.

       Respectfully submitted on this 10th day of November, 2017.


                                                     Respectfully submitted,

                                                     Eugene Anthony Thomas

                                                                      /s/
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                                                     Assistant Federal Public Defender
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on November 10, 2017, I will electronically file the foregoing pleading

with the Clerk of the Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to the following:

       Christopher Catizone, Esq.
       Jonathan Fahey, Esq.
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       Pursuant to the Electronic Case Filing Policies and Procedures, a courtesy copy of the

foregoing pleading will be delivered to Chambers within one business day of the electronic filing.



                                                     By:                 /s/
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